           Case 2:24-cv-04744-RGK-AJR            Document 56 Filed 09/04/24     Page 1 of 12 Page ID
                                                       #:1941

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                       8 Netflix Worldwide Entertainment, LLC
                       9
                                            UNITED STATES DISTRICT COURT
                  10
                                          CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12
                  13       FIONA HARVEY,                        Case No. 2:24-cv-04744-RGK-AJR

                  14                    Plaintiff,              DEFENDANTS’ REPLY IN FURTHER
                                                                SUPPORT OF SPECIAL MOTION TO
                  15            v.                              STRIKE
                  16       NETFLIX, INC., and NETFLIX           Date:      September 16, 2024
                           WORLDWIDE ENTERTAINMENT,             Time:      9:00 a.m.
                  17       LLC,                                 Place:     Courtroom 850
                  18                    Defendants.             Hon. R. Gary Klausner
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                                                                                  Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                    DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                   SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24        Page 2 of 12 Page ID
                                                         #:1942

                       1 I.      INTRODUCTION.
                       2         Simply watching the Series1 and viewing the context of the alleged
                       3 defamatory statements dispels any notion that the Series is of and concerning
                       4 Harvey. If that were not enough to strike her claims (and it is), Netflix’s substantial
                       5 evidence demonstrates that Harvey’s claims have no merit. Rather than address
                       6 Netflix’s supporting evidence, Harvey instead asserts—without any authority—that
                       7 her claims are automatically established because the Series depicts criminal conduct
                       8 by a fictional character. Harvey would have this Court disregard the undisputed
                       9 evidence that the Series fictionalizes characters, events, and dialogue, merely
                  10 because the story was described as “true.” That has no effect on Harvey’s legal
                  11 burden to establish, through admissible evidence, that the Series makes a provably
                  12 false statement of fact about her, and that Netflix acted with actual malice. She
                  13 utterly fails to meet that standard.
                  14             Contrary to Harvey’s contentions, the anti-SLAPP statute applies to
                  15 statements concerning unlawful behavior.              And Harvey’s weak attempts to
                  16 characterize these statements as a “private” dispute are belied by the actual evidence
                  17 and settled law. Netflix’s distribution of the Series—a dramatic work examining
                  18 salient issues of harassment, stalking, trauma and abuse—is plainly “conduct in
                  19 furtherance of the exercise of . . . free speech in connection with a public issue or an
                  20 issue of public interest,” as Cal. Code Civ. Proc. § 425.16 (e) provides. Harvey had
                  21 the burden to show her claims are legally sufficient and substantiated.                  The
                  22 admissible evidence demonstrates that Harvey did not—and cannot—meet this
                  23 burden. The Court should thus grant Netflix’s Special Motion to Strike.
                  24 II.         ARGUMENT.
                  25             A.    Harvey’s Claims Arise from Protected Activity.
                  26             Harvey asserts—without a shred of authority—that her claims do not relate to
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                     1
                       Capitalized terms not defined herein have the meaning ascribed to them in Netflix’s
                  28 Special Motion to Strike.
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                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                         DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                        SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24       Page 3 of 12 Page ID
                                                         #:1943

                       1 protected activity under the anti-SLAPP statute because the defamatory statements
                       2 concern criminal conduct.2 That is not the law. See, e.g., Tamkin v. CBS Broad.,
                       3 Inc., 193 Cal. App. 4th 133, 139, 144–45 (2011) (statements implying plaintiffs
                       4 committed murder within public interest and protected by SLAPP statute); Makaeff
                       5 v. Trump Univ., LLC, 715 F.3d 254, 263 (9th Cir. 2013) (alleged fraudulent business
                       6 practices protected); Todd v. Lovecruft, 2020 WL 60199, at *13 (N.D. Cal. Jan. 6,
                       7 2020) (alleged sexual abuse protected). Statements made in the context of a creative,
                       8 dramatic work concerning stalking and harassment are squarely within the
                       9 protections of the anti-SLAPP statute. Multiple cases hold that the creation and
                  10 dissemination of film and television are entitled to the anti-SLAPP statute’s
                  11 protections. See De Havilland v. FX Networks, LLC, 21 Cal. App. 5th 845, 849–50
                  12 (2018); Tamkin, 193 Cal. App. 4th at, 143–44; Brodeur v. Atlas Enter., Inc., 248 Cal.
                  13 App. 4th 665, 674 (2016). Harvey does not dispute this, nor that the Series’ subject
                  14 matter—abuse, harassment, and stalking—are topics of widespread, public interest.
                  15 See generally Opp. (ECF 41); Netflix Memo. of Law (ECF 26-1), 8-9.
                  16            Harvey next asserts the alleged defamation does not implicate a public interest
                  17 because Harvey is a private person.3 This ignores her own allegations that the
                  18 statements also concern Gadd—a celebrated actor and writer.4 Compl. ¶¶ 24-28, 53-
                  19 70. The public is indisputably interested in both Gadd and Harvey’s stalking and
                  20
                          2
                       Briganti v. Chow, 42 Cal. App. 5th 504, 508-09 (2019) and New Show Studios LLC
                  21 v. Needle, 2014 WL 12495640, at *10 (C.D. Cal., 2014), cited by Harvey as
                  22 ostensible,
                     3
                                 hold precisely the opposite.
                       The private disputes addressed in Abuemeira v. Stephens, 246 Cal. App. 4th 1291,
                  23 1298 (2016), Weinberg v. Feisel, 110 Cal. App. 4th 1122, 1127 (2003), and Rivero
                     v. Am. Fed’n of State, Cnty. and Mun. Emps., AFL-CIO, 105 Cal. App. 4th 913, 919-
                  24 924 (2003) are readily distinguishable from the issues here—namely, public stalking
                     and harassment.
                  25 4
                       Harvey asserts Netflix should not be permitted to argue the Series is not understood
                  26 to concern her and also argue the SLAPP statute applies because Harvey alleges the
                     Series concerns Gadd. But there is nothing inconsistent about these positions. It is
                  27 Harvey who cannot selectively disclaim her own allegations to defeat Netflix’s
                     motion. See Hu and Assocs., LLC v. New Life Senior Wellness Ctr., LLC, 2017 WL
                  28 10591754, at *17 (C.D. Cal. July 7, 2017).
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                                                                                      Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                       SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24       Page 4 of 12 Page ID
                                                         #:1944

                       1 harassment of him. Putnam Decl. Exs. B-H; see also Stewart v. Rolling Stone LLC,
                       2 181 Cal. App. 4th 664, 677–78 (2010).5 In any event, Harvey is hardly a private
                       3 person. Her stalking and harassment of other high-profile individuals has been
                       4 widely covered in the press. Putnam Decl. Exs. M-O. Additionally, the evidence
                       5 demonstrates the challenged statements are also aimed at furthering (and did further)
                       6 public discourse surrounding salient topics of abuse, harassment, and stalking, Gadd
                       7 Decl. ¶¶ 7-8, 13; Putnam Decl. Exs. 1-L, which, as Harvey’s own cited authority
                       8 holds, is yet another independent ground to find the SLAPP statute applies here. See
                       9 Geiser v. Kuhns, 13 Cal. 5th 1238, 1243 (2022).
                  10            B.     Harvey’s Claims Are Not Legally Sufficient or Substantiated.
                  11            Because Harvey’s claims arise out of protected activity, the burden shifts to
                  12 her to show they have merit. She does not—and cannot.
                  13                   1.    No Reasonable Viewer Would Understand the Series to Make a
                  14                         Factual Statement About Harvey.

                  15            The evidence demonstrates that no reasonable viewer would understand the
                  16 Series to make any statement of fact—never mind one about Harvey—whom it never
                  17 even mentions. Harvey’s opposition—which mostly regurgitates the same broad
                  18 similarities between her and the Series’ Martha character as identified in the
                  19 Complaint—does not change that the Series is not of and concerning her. See Netflix
                  20 Memo. of Law (ECF 26-1), 10-11. Apparently realizing this, she now adds supposed
                  21 “idiosyncratic facts” that she claims would lead a reasonable viewer to identify her
                  22 as the Martha character—such as Harvey and Martha both drink tea and are “highly
                  23 stressful” with “emotional issues,” and “bright and, at times, extremely funny,” Hala
                  24 Decl. ¶ 5-8—yet even these latest additions are insufficient to meet Harvey’s burden.
                  25 See Tamkin, 193 Cal. App. 4th at 146–47; Sarver v. Hurt Locker LLC, 2011 WL
                  26
                  27      5
                       Bernstein v. LaBeouf, 43 Cal. App. 5th 15, 23 (2019) is inapposite. There,
                     LaBeouf’s celebrity could not transmute statements of no importance, directed at a
                  28 person never involved in any public issue, into issues of public interest. Id.
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                                                                                      Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                       SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24       Page 5 of 12 Page ID
                                                         #:1945

                       1 11574477, at *7–8 (C.D. Cal. Oct. 13, 2011); Polydoros v. Twentieth Century Fox
                       2 Film Corp., 67 Cal. App. 4th 318, 320, 322 (1997); Aguilar v. Universal City
                       3 Studios, Inc., 174 Cal. App. 3d 384 (1985).
                       4        Harvey points to Gadd’s description of his interactions with her as ostensible
                       5 corroborating evidence.     But Gadd’s personal knowledge of Harvey’s actual
                       6 transgressions has no bearing on whether a reasonable viewer would somehow
                       7 understand that the Martha character is Harvey. Failing to even engage with
                       8 Netflix’s evidence that the context of the challenged statements defeats her claim,
                       9 Harvey instead focuses solely on the statement that the Series is a “true story”—
                  10 irrespective of its actual context, which constitutional jurisprudence requires. It is
                  11 thus telling that Harvey cites to no authority suggesting that such a statement—
                  12 whether made in the Series or elsewhere6—somehow magically deprives viewers of
                  13 their ability to discern between fictionalized, dramatic content and statements of fact.
                  14 That is because it does not. Even in the context of a docudrama claiming to portray
                  15 real events, viewers are aware “such programs are more fiction than fact.”
                  16 Partington v. Bugliosi, 56 F.3d 1147, 1155 (9th Cir. 1995).
                  17            Similarly, that certain individuals may have suspected the character Martha
                  18 was based on Harvey after viewing the Series does not establish that a reasonable
                  19 viewer would do the same. After all, even admissible, reliable evidence of a viewer’s
                  20 actual beliefs is not dispositive and should be discounted when patently
                  21 unreasonable or unreliable. Aguilar, 174 Cal. App. 3d at 391; Middlebrooks v.
                  22 Curtis Publ’g Co., 413 F.2d 141, 142 (4th Cir. 1969). And here, the evidence
                  23 submitted by Harvey is either inadmissible,7 does not support her claims,8 or is
                  24
                  25   Harvey does not address Netflix’s argument that its statements made to Parliament
                           6

                     are privileged and thus concedes the issue. See Reyes v. Wells Fargo Bank, 2017
                  26 WL 11568871, at *4 (C.D. Cal. Aug. 17, 2017).
                     7
                        See Netflix’s Objections to Plaintiff’s Evidence Submitted in Support of
                  27 Opposition to Anti-SLAPP Motion (“Objections”).
                  28 8 In addition to being inadmissible hearsay, Exs. 1-23 of the Harvey Declaration,
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                                                                                      Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                       SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24        Page 6 of 12 Page ID
                                                         #:1946

                       1 facially unreliable,9 given the nature and context of the Series. In the Series, the
                       2 alleged defamatory statements made in the context of stylistic, cinematic choices
                       3 reaffirm for the viewer that the Series is not an accurate portrayal of historical fact
                       4 but a fictionalized, dramatic work—it is the character Donny’s fevered account of
                       5 trauma, self-doubt, and shame. See, e.g., Ep. 1 at 28:38, Ep. 2 at 20:50, Ep. 3 at
                       6 14:10, Ep. 7 at 12:24, 28:18. In fact, each episode includes a disclaimer that the
                       7 Series was fictionalized for dramatic purposes.10 See generally Series; Netflix Decl.
                       8 ¶ 8. Taking into account the Series’ entire context—as the law requires—no
                       9 reasonable viewer could understand the Series as making actual factual statements
                  10 about Harvey. Sarver, 2011 WL 11574477, at *8; Mossack Fonseca & Co., S.A. v.
                  11 Netflix, Inc., 2020 WL 8510342, at *4 (C.D. Cal. Dec. 23, 2020).
                  12                   2.     The Alleged Defamatory Statements Are Substantially True.
                  13             Netflix provided reliable evidence from multiple third parties establishing
                  14 Harvey (1) sexually and physically assaulted and stalked and harassed Gadd, (2)
                  15 stalked and harassed other high-profile individuals, and (3) faced legal repercussions
                  16 for her conduct warranting conviction if prosecuted. See Gadd Decl. ¶¶ 16-17, Wray
                  17 Decl. ¶¶ 8-13, Seymour Decl. ¶¶ 1-10, Oakley Decl. ¶¶ 85-86. Through this
                  18
                          which purport to be social media messages sent to Harvey from unidentified third
                  19      parties, do not establish that reasonable viewers would understand the Series to make
                          factual statements about her. Most do not even mention the Series. Those that do
                  20      merely inquire about a possible connection to Harvey. Moreover, the messages post-
                  21      date either Harvey’s self-identification or her alleged identification by an “internet
                          sleuth,” and thus do not demonstrate anyone identified Harvey from the Series itself.
                  22      See, e.g., Armstrong Decl., ¶¶ 3-4; Dingwall Decl., ¶¶ 6, 8.
                  23
                          9
                             Harvey’s personal hairdresser’s belief that she is Martha because she shares
                          common characteristics with a fictional character is not reasonable. See Hala
                  24      Declaration. It entirely disregards the context of the fictional Series, and given his
                          personal relationship with Harvey, is unreliable. Aguilar, 174 Cal. App. 3d at 391.
                  25      10
                             Gaprindashvili v. Netflix, Inc., 2022 WL 363537, *6 (C.D.Cal. 2022), Fairstein v.
                  26      Netflix, Inc., 553 F. Supp. 3d 48, 59 (S.D.N.Y. 2021), and Muzikowski v. Paramount
                          Pictures Corp., 322 F.3d 918 (7th Cir. 2003) offer Harvey no support. They either
                  27      have no analysis at all of the disclaimers, were decided on a different standard,
                          and/or involved works that strongly suggested they were portraying the real plaintiff,
                  28      including by using plaintiff’s real name.
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                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                         DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                        SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR             Document 56 Filed 09/04/24        Page 7 of 12 Page ID
                                                        #:1947

                       1 evidence, Netflix demonstrated that the gist of the alleged defamation—that Harvey
                       2 is a dangerous stalker who harassed Gadd and others—is substantially accurate. See
                       3 Karimi v. Golden Gate School of Law, 361 F. Supp. 3d 956, 979 (N.D. Cal. 2019).
                       4 Aside from her self-serving denials, Harvey has provided no admissible evidence to
                       5 controvert the evidence submitted by Netflix, which shows Harvey inflicted trauma
                       6 on Gadd, in the form of hundreds of violent and explicit emails, hours of terrifying
                       7 voicemails, and physical and sexual assaults. Gadd Decl. ¶¶ 14-56, Exs. 1-52.11 The
                       8 Series’ purported exaggerations, such as the severity of the assault, legal
                       9 consequences, and amount of genital touching are unimportant compared to the
                  10 actual avalanche of abuse Gadd suffered at Harvey’s hands. Such differences are
                  11 one of degrees not type, and are precisely the type of flexibility the First Amendment
                  12 requires. See, e.g., Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 514 (1991)
                  13 (if every inaccuracy constituted the falsity required to prove defamation that would
                  14 be inconsistent with First Amendment principles); Lawrence v. Altice USA, 841 Fed.
                  15 App’x 273, 275–77 (2d Cir. 2021) (news report that plaintiff arrested for stalking
                  16 substantially true even though inaccurate as report consistent with plaintiff’s history
                  17 of similar behavior). For constitutional purposes, the gist remains substantially true.
                  18 Elliot v. Lions Gate Ent. Corp., 639 F. Supp. 3d 1012, 1021 (C.D. Cal. 2022).
                  19            And it is not the case that, as Harvey would have it, where a statement
                  20 addresses criminal conduct, one need not establish falsity.12 Rather, Harvey was
                  21 required to show that her established conduct would have a different—and more
                  22 positive—effect on the audience than the alleged defamatory statements. Jackson v.
                  23
                  24
                          11
                             Harvey’s only “evidence” beyond her declaration is a document of unknown
                          origin that Harvey claims establishes she has “never been convicted of a crime.”
                  25      Harvey Decl. ¶ 20, Ex. 24. Aside from being inadmissible hearsay, the document
                          does not rebut Netflix’s evidence showing the alleged defamatory statements are
                  26      substantially true. Netflix’s Objections at 14.
                  27      12
                             Harvey misapprehends Burrill v. Nair, 217 Cal. App. 4th 357 (2013), which
                          actually supports Netflix. Burrill stands for the proposition that accusations of
                  28      criminal conduct are defamatory only if proved false. Id. at 387.
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                                                                                      Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                        DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                       SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24        Page 8 of 12 Page ID
                                                         #:1948

                       1 Mayweather, 10 Cal. App. 5th 1240, 1262–63 (2017), as modified (Apr. 19, 2017).
                       2 She comes nowhere close.13 Not only is her actual conduct sufficient to have
                       3 warranted criminal punishments at least as severe as those the Martha character
                       4 faced, Oakley Decl. ¶¶ 85-86, but much of it is substantially worse than that depicted
                       5 in the Series. Gadd Decl. Exs. 3-41.14 Because the truth has an even worse effect
                       6 than the fictional Martha could have, the alleged defamatory statements are not
                       7 actionable. Masson, 501 U.S. at 517.
                       8               3.     The Alleged Defamatory Statements Are Mere Opinion.
                       9         Even accepting Harvey’s argument that the Series is a retelling of her
                  10 relationship with Gadd, the First Amendment protects Gadd’s personal descriptions
                  11 of events in his own life, retold in a fictionalized, dramatic memoir. Ferlauto v.
                  12 Hamsher, 74 Cal. App. 4th 1394, 1401–02 (1999). Harvey’s argument regarding
                  13 other cases involving Netflix thus misses the point legally and factually, as none of
                  14 those cases involved the specific circumstances and context here.15
                  15             C.    Harvey Does Not Establish Netflix’s Actual Malice.
                  16             Harvey is a public figure that must establish Netflix acted with actual malice,
                  17 which requires clear and convincing evidence that Netflix intended to defame her or
                  18 acted with reckless disregard to the possibility the Series would. De Havilland, 21
                  19
                     13
                        Harvey’s repeated claims that the Series depicts Martha “raping” Donny are
                  20 wholly   unsupported. The ambiguous scene, Ep. 2 at 20:50, connotes the
                  21 “inappropriate  touching” Gadd was subjected to by Harvey. Gadd Decl. ¶ 17.
                     14
                        Harvey asserts that reasonable viewers will identify her as Martha, in part, because
                  22 she was publicly accused of stalking and harassing Wray, while also arguing that
                  23 very publicity has been forgotten. She cannot have it both ways, and her well-known
                     history of stalking and harassment renders her libel-proof. See Wynberg v. Nat’l
                  24 Enquirer, Inc., 564 F. Supp. 924, 927–28 (C.D. Cal. 1982).
                     15
                  25    Fairstein, 553 F. Supp. 3d at 58 and Colborn v. Netflix Inc., 541 F. Supp. 3d 888,
                     901 (E.D. Wis. 2021) are inapposite. Neither involved statements made in the
                  26 context of a fictionalized work portraying traumatic events from the author’s life and
                     both were decided on different legal standards. Moreover, Colborn’s claims were
                  27 dismissed on summary judgment, in part, because they were premised on
                     nonactionable opinions. See Colborn v. Netflix Inc., 661 F. Supp. 3d 838, 849 (E.D.
                  28 Wis. 2023).
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                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                         DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                        SPECIAL MOTION TO STRIKE
           Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24        Page 9 of 12 Page ID
                                                         #:1949

                       1 Cal. App. 5th at 869. Harvey does not meet this high bar. Harvey’s political
                       2 activities alone, which Harvey concedes included seeking nomination, and being
                       3 shortlisted, as a candidate for Parliament, Harvey Decl. ¶ 6; Gadd Decl. Ex. 14, make
                       4 her a general-purpose public figure.16 Mosesian v. McClatchy Newspapers, 233 Cal.
                       5 App. 3d 1685, 1696 (1991). She also easily qualifies as a limited-purpose public
                       6 figure given her publicly disclosed stalking and harassment. Putnam Decl. Ex. M.
                       7         Harvey claims that time has somehow extinguished her limited public figure
                       8 status. That is not the law in this, or any other, Circuit.17 Chapman v. J. Concepts,
                       9 Inc., 528 F. Supp. 2d 1081, 1094 (D. Haw. 2007), aff’d on other grounds, 401 F.
                  10 App’x 243 (9th Cir. 2010) (time does not alter public figure status); Mosesian, 233
                  11 Cal. App. 3d at 1703 (public figure status does not stop with publicity); St. v. Nat’l
                  12 Broad. Co., 645 F.2d 1227, 1235 (6th Cir. 1981) (person remains public figure
                  13 indefinitely for purposes of later commentary on relevant controversy). And the
                  14 allegations against Harvey concerned more than her and her victims. The very
                  15 reason the allegations generated media attention was that the victims were the First
                  16 Minister of Scotland and a member of Parliament’s family, whose harassment and
                  17 stalking concern the citizenry more broadly and the political process. Harvey also
                  18 plainly attempted to influence public opinion by denying she was a stalker, offering
                  19 her own version of the events, and threatening legal action. Putnam Decl. Ex. M.
                  20 As such, the allegedly defamatory statements directly contradict that public denial,
                  21 which her own authority states is all that is required to show they are germane to the
                  22 public controversy. See Ampex Corp. v. Cargle, 128 Cal. App. 4th 1569, 1578
                  23
                           16
                  24          Harvey provides no authority for her assertion that the functional details of her
                           candidacy are legally relevant, and Netflix is aware of none.
                  25       17
                              Briscoe v. Reader’s Digest Association Inc., 4 Cal.3d 529 (1971), Rutt v.
                  26       Bethlehems’ Globe Pub. Co., 335 Pa.Super 163 (Pa. 1984), and MacDonald v.
                           Brodkorb, 939 N.W.2d 468 (Minn. Ct. of App. 2020) do not establish otherwise.
                  27       Briscoe was overruled in Gates v. Discovery Comm’ns, Inc., 34 Cal. 4th 679 (2004)
                           and Rutt and MacDonald carry no weight as they are state court decisions from
                  28       foreign jurisdictions made on different standards.
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                                                                                       Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                         DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                        SPECIAL MOTION TO STRIKE
          Case 2:24-cv-04744-RGK-AJR               Document 56 Filed 09/04/24        Page 10 of 12 Page ID
                                                         #:1950

                       1 (2005). She is certainly a public figure.
                       2         As a public figure, Harvey had to prove Netflix’s actual malice by clear and
                       3 convincing evidence. De Havilland, 21 Cal. App. 5th at 869. Yet, the undisputed
                       4 evidence demonstrates Netflix did not intend to defame Harvey or act with reckless
                       5 disregard. Netflix never mentioned Harvey, Netflix Decl. ¶ 10, included a disclaimer
                       6 in each episode, id. ¶ 8, sought to disguise the inspiration for Gadd’s work, Compl.
                       7 ¶¶ 34, 77, and understood the Series was fictionalized, Netflix Decl. ¶ 7. Netflix did
                       8 not intend or have reason to believe the Series would defame Harvey. Id. ¶ 9.
                       9         Contrary to Harvey’s claim, Netflix’s purported failure to retract the Series is
                  10 legally irrelevant to actual malice. See D.A.R.E Am. v. Rolling Stone Mag., 101 F.
                  11 Supp. 2d 1270, 1287 (C.D. Cal. 2000), aff’d sub nom. D.A.R.E. Am. v. Rolling Stone
                  12 Mag., 270 F.3d 793 (9th Cir. 2001). 18 Even were that not true, Harvey presents no
                  13 direct evidence that Netflix “made ‘Martha’ more like Harvey,” as she baselessly
                  14 claims. “Actual malice cannot be implied and must be proven by direct evidence.”
                  15 Beilenson, 44 Cal. App. 4th 944, 952 (1996). Harvey nonetheless asks this Court to
                  16 disregard actual evidence of Netflix’s intent and instead make improper and
                  17 unsupported inferential leaps to conclude Netflix made changes to the Martha
                  18 character to defame Harvey. Netflix did not. The Court should not make such
                  19 inferences. And Harvey has obviously not established Netflix’s actual malice. Id.19
                  20             D.    Discovery Has Not Been Requested, Nor Is It Warranted.
                  21             Harvey’s opposition vaguely references discovery.              Harvey has not
                  22 propounded any discovery on Netflix nor made the needed motion to request such
                  23 discovery. She thus has waived any purported need for discovery before the
                  24
                        Harvey also asserts that Netflix’s malice is shown by a Sunday Times article
                           18
                  25 discussing Netflix purported failure to “follow industry custom.” That article is
                     hearsay and improper legal opinion; it must be disregarded by the Court. See
                  26 Netflix’s Objections at 5-6.
                  27 19 Harvey does not dispute her remaining claims must fall if her defamation claim is
                     struck, conceding the issue. Reyes, 2017 WL 11568871, at *4. They also
                  28 independently fail for the reasons set forth in Netflix’s Motion to Dismiss briefing.
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                                                                                        Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY                                                          DEFENDANTS’ REPLY IN FURTHER SUPPORT OF
                                                                                         SPECIAL MOTION TO STRIKE
          Case 2:24-cv-04744-RGK-AJR              Document 56 Filed 09/04/24        Page 11 of 12 Page ID
                                                        #:1951

                       1 resolution of this Motion. In any event, discovery would not have been warranted
                       2 here. The evidence already submitted demonstrates that Harvey cannot establish
                       3 Netflix made a provably false statement of fact about her. See Metabolife Int’l, Inc.
                       4 v. Wornick, 264 F.3d 832, 846–47 (9th Cir. 2001) (discovery only warranted if
                       5 evidence necessary to opposition). The Court thus can (and should) decide the
                       6 Motion on the evidence before it. The Garment Workers Ctr. v. Super. Ct., 117 Cal.
                       7 App. 4th 1156, 1162 (2004).
                       8        E.     Harvey’s Request for Attorneys’ Fees Should Be Denied.
                       9        There is no basis to find that Netflix’s motion is “totally and completely
                  10 without merit” or brought for the “sole purpose of harassing” Harvey as required to
                  11 grant her request for fees. Cal. Code Civ. Proc. § 128.5(b)(2). Netflix provided
                  12 substantial evidence to support its Motion and authority contradicting Harvey’s
                  13 assertion that her claims are automatically established because the challenged
                  14 statements concern criminal activities. See Sections II.A-C supra. And Harvey
                  15 acknowledges that Netflix’s evidence bears on whether the challenged statements
                  16 are substantially true. See Opp. (ECF 41), 11-12. As such, Netflix’s motion has
                  17 plenty merit. There is no basis to grant Harvey’s request for fees.
                  18 III.       CONCLUSION.
                  19            Inspired by Gadd’s struggles with past abuse, the Series is a dramatic
                  20 work. Its characters, scenes, and dialogue convey Gadd’s story in an imaginative
                  21 style that has garnered critical acclaim. The Series is not a documentary representing
                  22 literally true details and imagery.         The anti-SLAPP statute protects Netflix’s
                  23 distribution of the Series and bars Harvey’s baseless attacks on Netflix’s exercise of
                  24 free speech. For the foregoing reasons, Netflix requests the Court grant its Motion.
                  25
                           Dated: September 4, 2024                 Respectfully submitted,
                  26                                                LATHAM & WATKINS LLP
                  27                                                By /s/ Marvin S. Putnam
                                                                      Marvin S. Putnam
                  28                                                  Attorneys for Defendants
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                                                                                        SPECIAL MOTION TO STRIKE
        Case 2:24-cv-04744-RGK-AJR           Document 56 Filed 09/04/24        Page 12 of 12 Page ID
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                   1                       CERTIFICATE OF COMPLIANCE
                   2        The undersigned, counsel of record for Defendants Netflix, Inc., and Netflix
                   3 Worldwide Entertainment, LLC, certifies that this brief contains 10 pages and
                   4 3,594 words, which complies with Local Rule 11-6.1 and the page limit set by
                   5 Court order dated June 7, 2024.
                   6 Dated: September 4, 2024                By: /s/ Marvin S. Putnam
                   7                                                 Marvin S. Putnam

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